Case 1:19-cv-00970-MN Document 106 Filed 11/13/20 Page 1 of 7 PageID #: 3066




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


COMPLETE GENOMICS, INC.,

                    Plaintiff,

      v.                                       C.A. No. 19-970-MN
ILLUMINA, INC.,                                JURY TRIAL DEMANDED
                    Defendant.



ILLUMINA, INC. and
ILLUMINA CAMBRIDGE LTD.,

                    Counterclaim-
                    Plaintiffs,

      v.

COMPLETE GENOMICS, INC.
BGI AMERICAS CORP., and
MGI AMERICAS INC.

                  Counterclaim-Defendants.


     JOINT APPENDIX OF EXHIBITS FOR CLAIM CONSTRUCTION BRIEFS


Adam W. Poff (#3990)                         Steven J. Balick (#2114)
Pilar G. Kraman (#5199)                      Andrew C. Mayo (#5207)
YOUNG CONAWAY STARGATT & TAYLOR, LLP         ASHBY & GEDDES
Rodney Square                                500 Delaware Avenue, 8th Floor
1000 North King Street                       P.O. Box 1150 Wilmington, DE 19899
Wilmington, DE 19801                         (302) 654-1888
(302) 571-6600                               sbalick@ashbygeddes.com
apoff@ycst.com                               amayo@ashbygeddes.com
pkraman@ycst.com

Attorneys for Plaintiff and Counterclaim- Attorneys for Illumina, Inc. and Illumina
Defendants Complete Genomics, Inc., BGI Cambridge Ltd.
Americas Corp., and MGI Americas, Inc.
Case 1:19-cv-00970-MN Document 106 Filed 11/13/20 Page 2 of 7 PageID #: 3067




 OF COUNSEL:                              OF COUNSEL:
 David Bilsker                            Edward R. Reines
 QUINN EMANUEL URQUHART & SULLIVAN LLP    Derek Walter
 50 California Street                     Christopher S. Lavin
 22nd Floor                               WEIL, GOTSHAL & MANGES, LLP
 San Francisco, CA 94111                  201 Redwood Shores Parkway
 (415) 875-6600                           Redwood Shores, CA 94065
 davidbilsker@quinnemanuel.com            (650) 802-3000
                                          edward.reines@weil.com
 Anne S. Toker                            derek.walter@weil.com
 Anastasia M. Fernands                    christopher.lavin@weil.com
 QUINN EMANUEL URQUHART & SULLIVAN LLP
 51 Madison Avenue                        Stephen Bosco
 22nd Floor                               WEIL, GOTSHAL & MANGES, LLP
 New York, NY 10010                       2001 M Street, NW, Suite 600
 (212) 849-7000                           Washington, DC 20036
 annetoker@quinnemanuel.com               (202) 682-7000
 anastasiafernands@quinnemanuel.com       stephen.bosco@weil.com

 Andrew J. Bramhall                       Melissa Hotze
 Margaret H.S. Shyr                       WEIL, GOTSHAL & MANGES, LLP
 QUINN EMANUEL URQUHART & SULLIVAN LLP    700 Louisiana, Suite 1700
 555 Twin Dolphin Drive                   Houston, TX 77002
 5th Floor                                (713) 546-5000
 Redwood Shores, CA 94065
 (650) 801-5000                           Andrew Gesior
 andrewbramhall@quinnemanuel.com          WEIL, GOTSHAL & MANGES, LLP
 margaretshyr@quinnemanuel.com            767 Fifth Avenue
                                          New York, NY 10153
                                          (212) 310-8000
 Dated: November 13, 2020




09359-00001/12425056.1               ii
Case 1:19-cv-00970-MN Document 106 Filed 11/13/20 Page 3 of 7 PageID #: 3068




                               INDEX OF EXHIBITS

 Exhibit                                         Title

   1.      U.S. Patent No. 9,222,132 (Drmanac)

   2.      U.S. Patent No. 10,662,473 (Drmanac)

           Illumina, Inc. v. Complete Genomics, Inc., No. IPR2020-00079, Decision
   3.
           Denying Institution of Inter Partes Review (P.T.A.B. Apr. 22, 2020)

           Zengmin Li et al., A Photocleavable Fluorescent Nucleotide for DNA Sequencing
   4.
           and Analysis, 100 Proc. Nat’l Acad. Scis. 414 (2003)

   5.      WO 06/074351 A2 (Smith et al.)

           Declaration of Andrew Naravage in Support of Plaintiff Complete Genomics,
   6.
           Inc.’s Opening Claim Construction Brief

           Illumina, Inc. v. Complete Genomics, Inc., No. IPR2020-00079, Petition for
   7.
           Inter Partes Review (P.T.A.B. Oct. 21, 2019) (excerpted)

           Illumina, Inc. v. Complete Genomics, Inc., No. IPR2020-00079, Declaration of
   8.      Floyd Romesberg, Ph.D., in Support of Petition for Inter Partes Review
           (P.T.A.B. Oct. 21, 2019) (excerpted)

   9.      U.S. Patent No. 7,960,104 (Drmanac et al.)

   10.     U.S. Patent No. 9,222,132 Interview Summary and Amendment (Feb. 3, 2015)

   11.     U.S. Patent No. 9,222,132 Interview Summary (Jan. 29, 2015)

   12.     U.S. Patent No. 9,222,132 Notice of Allowance (Sept. 15, 2015)

           U.S. Patent No. 10,662,473 Amendment After Allowance Under 37 C.F.R. §
   13.
           1.312 (Feb. 19, 2020)

   14.     U.S. Patent No. 10,662,473 Preliminary Amendment (Aug. 3, 2018)

   15.     U.S. Patent No. 6,833,246 (Balasubramanian)

   16.     U.S. Patent No. 6,911,345 (Quake et al.)

   17.     Illumina Figure 1

   18.     Illumina Figure 2




                                           1
Case 1:19-cv-00970-MN Document 106 Filed 11/13/20 Page 4 of 7 PageID #: 3069




   19.     Illumina Figure 3

   20.     Illumina Figure 4

   21.     U.S. Patent No. 8,445,194 (Drmanac et al.)

   22.     U.S. Patent No. 5,436,130 (Mathies et al.)

   23.     U.S. Patent Application Pub. No. 2005/0191698 (Chee et al.)

   24.     U.S. Patent No. 6,210,891 (Nyren et al.)

   25.     U.S. Patent No. 6,828,100 (Ronaghi)

           Mostafa Ronaghi et al., Real-Time DNA Sequencing Using Detection of
   26.
           Pyrophosphate Release, 242 Analytical Biochemistry 84 (1996)

           Marcel Margulies et al., Genome Sequencing in Open Microfabricated High
   27.
           Density Picoliter Reactors, 437 Nature 376 (2005)

   28.     U.S. Patent No. 9,222,132 Preliminary Amendment (Aug. 25, 2014)

   29.     U.S. Patent No. 8,415,099 (Drmanac et al.)

   30.     INTENTIONALLY OMITTED

   31.     U.S. Patent No. 9,222,132 Specification

   32.     U.S. Patent No. 9,222,132 Office Action (Feb. 20, 2015)

   33.     U.S. Patent No. 9,222,132 Response to Non-Final Office Action (Feb. 23, 2015)

   34.     U.S. Patent No. 9,222,132 Office Action (Dec. 19, 2014)

   35.     CGI Figure 1

   36.     CGI Figure 2

           Image excerpted from Tour of the Electromagnetic Spectrum, NASA Science,
   37.
           https://science.nasa.gov/ems/09_visiblelight (last visited Oct. 21, 2020)

           Illumina, Inc. v. Complete Genomics, Inc., No. IPR2020-00079, Petition for
   38.
           Inter Partes Review (P.T.A.B. Oct. 21, 2019) (excerpted)

   39.     WO 07/123744 A2 (Banerjee et al.)

   40.     U.S. Patent Application Pub. No. 2018/0223358 (Drmanac et al.)



                                           2
Case 1:19-cv-00970-MN Document 106 Filed 11/13/20 Page 5 of 7 PageID #: 3070




   41.     Excerpt from MGI DNBSEQ Sequencing Technology video

   42.     U.S. Patent No. 8,133,719 (Drmanac et al.)

   43.     U.S. Patent No. 9,217,178 (Fedurco et al.)

   44.     U.S. Patent No. 9,303,290 (Fedurco et al.)

   45.     U.S. Patent No. 9,217,178 Amendment to the Claims (April 15, 2010)

   46.     U.S. Patent No. 9,217,178 Office Action (August 6, 2012)

   47.     U.S. Patent No. 9,217,178 Amendment to the Claims (December 6, 2012)

   48.     U.S. Patent No. 9,217,178 Office Action (June 26, 2015)

   49.     U.S. Patent No. 9,217,178 Response to Office Action (September 17, 2015)

   50.     U.S. Patent No. 9,217,178 Notice of Allowance (November 5, 2015)

   51.     U.S. Patent No. 9,303,290 Notice of Allowance (February 19, 2016)

   52.     U.S. Patent No. 9,970,055 (Fedurco et al.)

   53.     International Union of Pure and Applied Chemistry definition of “salt”

   54.     International Union of Pure and Applied Chemistry – Nomenclature

   55.     Wikipedia article on “hydroxide”

   56.     Merriam-Webster dictionary definition of “salt”

   57.     Chamber Dictionary of Science and Technology definition of “salt”

   58.     Hawley’s Condensed Chemical Dictionary definition of “salt”

   59.     McGraw-Hill Dictionary of Scientific and Technical Terms definition of “salt”

           Oxford Dictionary of Biochemistry and Molecular Biology definition of
   60.
           “irradiate”

   61.     Taber’s Cyclopedic Medical Dictionary definition of “irradiate”

   62.     Hawley’s Condensed Chemical Dictionary definition of “irradiate”

   63.     WO 01/94630 A2 (Bradley et al.)

   64.     U.S. Patent No. 9,217,178 Amendment and Response (April 2, 2012)


                                           3
Case 1:19-cv-00970-MN Document 106 Filed 11/13/20 Page 6 of 7 PageID #: 3071




   65.     U.S. Patent No. 9,303,290 Amendment (December 8, 2015)

   66.     U.S. Patent No. 9,217,178 Response to Final Office Action (October 22, 2012)

   67.     Illumina HiSeq 2000 System Guide (May 2019)

   68.     U.S. Patent No. 9,303,290 Supplemental Submission (February 8, 2016)

   69.     WO 2006/064199 A1 (Baldock et al.)

   70.     U.S. Patent No. 9,217,178 Interview Summary (October 19, 2012)




                                          4
Case 1:19-cv-00970-MN Document 106 Filed 11/13/20 Page 7 of 7 PageID #: 3072




By: /s/ Adam W. Poff                            By: /s/ Andrew C. Mayo
Adam W. Poff (#3990)                            Steven J. Balick (#2114)
Pilar G. Kraman (#5199)                         Andrew C. Mayo (#5207)
YOUNG CONAWAY STARGATT & TAYLOR, LLP            ASHBY & GEDDES
Rodney Square                                   500 Delaware Avenue, 8th Floor
1000 North King Street                          P.O. Box 1150 Wilmington, DE 19899
Wilmington, DE 19801                            (302) 654-1888
(302) 571-6600                                  sbalick@ashbygeddes.com
apoff@ycst.com                                  amayo@ashbygeddes.com
pkraman@ycst.com                                Attorneys for Illumina, Inc. and Illumina
Attorneys for Plaintiff and Counterclaim-       Cambridge Ltd.
Defendants Complete Genomics, Inc., BGI
Americas Corp., and MGI Americas, Inc.
                                      OF COUNSEL:
OF COUNSEL:                           Edward R. Reines
David Bilsker                         Derek Walter
QUINN EMANUEL URQUHART & SULLIVAN LLP Christopher S. Lavin
50 California Street                  WEIL, GOTSHAL & MANGES, LLP
   nd                                 201 Redwood Shores Parkway
22 Floor
San Francisco, CA 94111               Redwood Shores, CA 94065
(415) 875-6600                        (650) 802-3000
davidbilsker@quinnemanuel.com         edward.reines@weil.com
                                      derek.walter@weil.com
Anne S. Toker                         christopher.lavin@weil.com
Anastasia M. Fernands
QUINN EMANUEL URQUHART & SULLIVAN LLP Stephen Bosco
51 Madison Avenue                     WEIL, GOTSHAL & MANGES, LLP
   nd                                 2001 M Street, NW, Suite 600
22 Floor
New York, NY 10010                    Washington, DC 20036
(212) 849-7000                        (202) 682-7000
annetoker@quinnemanuel.com            stephen.bosco@weil.com
anastasiafernands@quinnemanuel.com
                                      Melissa Hotze
Andrew J. Bramhall                    WEIL, GOTSHAL & MANGES, LLP
Margaret H.S. Shyr                    700 Louisiana, Suite 1700
QUINN EMANUEL URQUHART & SULLIVAN LLP Houston, TX 77002
555 Twin Dolphin Drive                (713) 546-5000
 th
5 Floor
Redwood Shores, CA 94065              Andrew Gesior
(650) 801-5000                        WEIL, GOTSHAL & MANGES, LLP
andrewbramhall@quinnemanuel.com       767 Fifth Avenue
margaretshyr@quinnemanuel.com         New York, NY 10153
                                      (212) 310-8000
Dated: November 13, 2020




                                            5
